                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 1 of 28




                                                                 Sophie Hasson




                                                                                 EXHIBIT 8522.R

HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333662.R
                                                                                EXHIBIT 8522.R-001
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 2 of 28




                     Sophie Hasson   Samer Sayigh   Paul Christensen Mary Oh




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                     GOOG-PLAY-003333663.R
                                                                                EXHIBIT 8522.R-002
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 3 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333664.R
                                                                                EXHIBIT 8522.R-003
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 4 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333665.R
                                                                                EXHIBIT 8522.R-004
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 5 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333666.R
                                                                                EXHIBIT 8522.R-005
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 6 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333667.R
                                                                                EXHIBIT 8522.R-006
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 7 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333668.R
                                                                                EXHIBIT 8522.R-007
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 8 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333669.R
                                                                                EXHIBIT 8522.R-008
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 9 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333670.R
                                                                                EXHIBIT 8522.R-009
                         Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 10 of 28




●   i think Tariq will want to see who is impacted by optoin A. don't want to include too many data points.. do you think we need max
    annual cloud credit & "est. 2019/2020 cloud spend?)
●   Note that giving concessions on GCP commitments may have additional immediate revenue impacts. If, for example, a given commit
    customer is behind on their commit, and this allows them to exit that commit, it creates a history of Google not enforcing commitment
    contracts, which we do not want to do. I want to flag that we should not give the option to exit a commit if a customer is behind on
    their spend.


HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                             GOOG-PLAY-003333671.R
                                                                                                         EXHIBIT 8522.R-010
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 11 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333672.R
                                                                                EXHIBIT 8522.R-011
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 12 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333673.R
                                                                                EXHIBIT 8522.R-012
                           Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 13 of 28




●   Before we jump into the #s, want to add a bit of color to how we think program duration will impact developer adoption, therby impacting success of
    program
●   First, we sought to understand what % of customers do we win today vs. predict to win with a longer program? (By win here, we mean do they
    come onto GCP at all)
●   Today we’re winning 25-30% of overall deals we pitch. It’s not a ton, bec Of that, we see that about ¼ of the top gaming customers sign a commit)
●   W/ a 3 yr program - we think we’d increase to winning 85% of customers
●   Basically, a shorter program doesn't change the main challenge our sellers have today - AWS is the incumbent. We're unfamiliar and we're not the
    standard provider. For most, there is no reason to switch. With a long enough program, that fundamentally changes. We're reducing costs to
    switch and providing enough time to become familiar and at that point we should not only have product parity but our gaming specific offerings
    should be much stronger.
●   Second, we wanted to understand HOW much of their workloads would we win?                                       GOOG-PLAY-003333674.R
HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                          EXHIBIT 8522.R-013
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 14 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333675.R
                                                                                EXHIBIT 8522.R-014
                      Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 15 of 28




●   Nintendo Co., Ltd. - 13%
●   Ubisoft Entertainment - 17%
●   BANDAI NAMCO Entertainment Inc. - 10.3%
●   King - 23%
●   Niantic - 25%
●   Netmarble - 23.5%


HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         GOOG-PLAY-003333676.R
                                                                                     EXHIBIT 8522.R-015
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 16 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333677.R
                                                                                EXHIBIT 8522.R-016
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 17 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333678.R
                                                                                EXHIBIT 8522.R-017
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 18 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333679.R
                                                                                EXHIBIT 8522.R-018
                         Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 19 of 28




●   In order to get the desired outcomes that Paul & Mary just explained, it ultimately largely falls on our Sales teams to execute. And
    how they behave is ultimately dictated by how they’re compensated. This is a consideration for both A & B.

●   Finance says deliver this
●   Sales ops divide by region
●   Account level quota is NRR - if you have left over -


HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                               GOOG-PLAY-003333680.R
                                                                                                           EXHIBIT 8522.R-019
                        Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 20 of 28




●   Credit Deployment: Essentially requires us to send the Argentum SWEs a bug with CSV attached with billing account id, credit
    amount and validity to be applied. There isn't an SLA on the process today since it is an exception process we use.


      ○    dependent on TPM team who is OOO until Mar. 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                           GOOG-PLAY-003333681.R
                                                                                                       EXHIBIT 8522.R-020
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 21 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333682.R
                                                                                EXHIBIT 8522.R-021
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 22 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333683.R
                                                                                EXHIBIT 8522.R-022
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 23 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333684.R
                                                                                EXHIBIT 8522.R-023
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 24 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333685.R
                                                                                EXHIBIT 8522.R-024
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 25 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333686.R
                                                                                EXHIBIT 8522.R-025
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 26 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333687.R
                                                                                EXHIBIT 8522.R-026
                 Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 27 of 28




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-003333688.R
                                                                                EXHIBIT 8522.R-027
      Case 3:21-md-02981-JD Document 888-35 Filed 12/21/23 Page 28 of 28



Control Numb·e r :         GOOG-PLAY-003333662.R
Allcustodians :            Bankhead, Paul, Feng, P~ul,
                           Koc.hikar, Purnima, Lim, Ti·an,
                           Rosenberg, Jam,i~, Wang, Kevin
Tftle :                   CONFTDENTIAL        Play+ GCP
                          Hug Proposal
Filename                  CONFIDENTIAL.   Play+ GCP
                          Hug
                          Proposal-1£2Zij2GUHth_Mpkxzc
                          hZ346m8llWE7iFVnmeKjOQStw.. pp
                          ·t:x

Date~reated ·              2/1/2019 1.2: 00 AM
Timecrea:ted ·             16:59:00
DateLastM6dified           11/1.2/iOZO 12:00 AM
TimeL-astM9dified          02:32:00
RecordTyp·e :              E-Document
Application·
Author :                               g9ogle.com
Production Vol. :          PR0()1.13
Group Identifier
subject :
oa:.t esen·t
TimeSent ·
Emai l From ·
Email To
Email cc
Emai l BCC :




                                                                     EXHIBIT 8522.R-028
